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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW MEXICO
                         BEFORE THE HONORABLE BARBARA EVANS

                             CRIMINAL CLERK’S MINUTES at Roswell

CASE NUMBER:        19-CR-00764-JB      DATE: 4/9/2019          TAPE NUMBER: LCR-ROSWELL

CLERK: MICHELLE PETTIT

TYPE OF HEARING: INITIAL PRESENTMENT

DEFENDANT(S):                           ATTORNEY(S):                             Appt’d. Ret’d.
 Raymond Blair Kosier                                                                   ☐     ☐

Interpreter:
Pretrial Officer present:
Court in Session: 3:00 P.M. to 3:15 P.M. (15 MINS)

☒     Defendant was given/read a copy of charging document

☐     Agent sworn in OPEN COURT

☒     Court questions Defendant regarding his/her physical and mental conditions, address, DOB,
      education

☒     Court advises defendant(s) of possible penalties

☒     Court advises defendant(s) of all constitutional rights

☐     ORAL Motion for detention Hearing by Government

☐     Court grants Government’s ☐ Defense ☐           oral motion to continue detention hearing

☐     Waiver of preliminary hearing & right to grand jury presentment filed in open court

☒     Defendant(s) in custody

☐     Defendant(s) detained without bond as: Risk of Flight ☐       Danger to Community ☐

☐     Conditions of Release set at:

☒     Other: ARRAIGNMENT/ DETENTION HEARING IN ALBUQUERQUE ON WEDNESDAY ,
      APRIL 17, 2019 AT 9:30 A.M. BEFORE JUDGE RITTER IN THE RIO GRANDE
      COURTROOM`.
